 Case 3:18-cv-00957-D             Document 15       Filed 06/04/18       Page 1 of 2      PageID 89

                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

JAMES T. EDWARDS, III,                  §
                                        §
      Plaintiff,                        §
                                        §
v.                                      §        CIVIL ACTION NO. 3:18-CV-0957-D
                                        §
OPPENHEIMER & CO., INC.,                §
                                        §
      Defendant.                        §
_____________________________________________________________________________

                         DECLARATORY JUDGMENT
____________________________________________________________________________

            Came on for consideration Plaintiff’s Unopposed Motion for Entry of Declaratory

Judgment. Having considered the Motion, Defendant’s lack of opposition to the relief requested,

the pleadings on file, and all other matters properly before the Court, the Court finds as follows:

               • The Court has personal and subject-matter jurisdiction over this cause;

               • There is an actual, substantial case or controversy between Plaintiff and

                   Defendant, who have adverse legal interests of sufficient immediacy and reality

                   to merit declaratory relief;

               •   The parties’ dispute is definite and concrete, not hypothetical or abstract;

               • The requested Declaratory Judgment will serve a useful purpose in clarifying and

                   settling legal relations at issue, and will provide relief from the uncertainty,

                   insecurity, and controversy giving rise to the proceeding;

               • There is no pending proceeding between Plaintiff and Defendant that will be

                   adjudicated in another state or federal court; and

               • Plaintiff has capacity to act as general partner of DPK Investments, L.P., and to

                   seek and obtain the declaratory relief requested in Plaintiff’s Amended

                   Complaint.

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 Case 3:18-cv-00957-D             Document 15        Filed 06/04/18      Page 2 of 2     PageID 90

            Accordingly, the Court issues the following judicial declarations:

            1.      James T. Edwards, III, acting in his capacity as the General Partner of and for the

                    benefit of DPK Investments, L.P., has the right to immediate possession of the

                    Funds on deposit in any and all Oppenheimer accounts in the name of DPK

                    Investments, L.P. (the "Funds") including, as an example but not limited to,

                    Account Number A04-0007450; and

            2.      Oppenheimer is directed to distribute the Funds to James T. Edwards, III, acting

                    in his capacity as the General Partner of and for the benefit of DPK Investments,

                    L.P.

            All relief requested by the parties and not granted herein is DENIED. All writs and

processes for the enforcement and collection of this Judgment may issue as necessary. All costs

of Court are to be paid by the party incurring same.

            This DECLARATORY JUDGMENT disposes of all parties and issues and is a FINAL,

APPEALABLE JUDGMENT.

            June 4, 2018



                                                  ____________________________________
                                                  SIDNEY A. FITZWATER
                                                  UNITED STATES DISTRICT JUDGE




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